Case 8:03-cr-00298-SDM-TBM Document 110 Filed 06/01/05 Page 1 of 1 PageID 288




                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION



    UNITED STATES OF AMERICA

    v.                                                  Case No. 8:03-cr-298-T-23TBM

    LENIN V. PEREZ
    JOSEPH ANTHONY GONZALEZ
                                                 /



                                             ORDER

          Joseph Anthony Gonzalez filed a “Second Motion to Unseal or Compel Disclosure

    of Affidavit in Support of Search Warrant for Premises Known as 3205 West Leroy

    Street, Tampa, Florida” (Doc. 93). The United States responded that it has “no

    objection to the unsealing of the Affidavit in support of the search warrant” (Doc. 97).

    Accordingly, the motion (Doc. 93) is GRANTED. The Clerk shall unseal the affidavit.

          ORDERED in Tampa, Florida, on June 1, 2005.
